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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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				Go to Today april, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				17apr10:00 am- 4:00 pmOral Arguments
							Event DetailsMonday, April 17,&nbsp;2017
10:00 AM
S17A0828 Pierce v. The State
S17A0880 O'Connor v. Fulton County et al.
S17A0818 Coleman v. The State
S17F0619 Altman v. Altman

2:00 PM

S16G1463 Smith v. Northside Hospital, Inc.
S17A0797 Wilson v. [...]
							
							
									Event Details
									Monday, April 17,&nbsp;2017
10:00 AM
S17A0828 Pierce v. The State
S17A0880 O’Connor v. Fulton County et al.
S17A0818 Coleman v. The State
S17F0619 Altman v. Altman
2:00 PM
S16G1463 Smith v. Northside Hospital, Inc.
S17A0797 Wilson v. Delgado
S17A0894 Anderson v. The State


								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
				4/12/17 – CHIEF JUDGE GILLIS TO HEAR GEORGIA SUPREME COURT CASE
						
					
				4/12/17 – JUDGE LIM TO HEAR GEORGIA SUPREME COURT CASE
						
					
				4/12/17 – JUDGE BARWICK TO HEAR GEORGIA SUPREME COURT CASE
						
					
				4/12/17 – JUDGE MCFADDEN TO HEAR GEORGIA SUPREME COURT CASE
						
				
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